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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
       ____________________________________
                                            :
       UNITED STATES OF AMERICA             :
                                            :
             v.                             : Case No. 22-CR-184 (DLF)
                                            :
       BARRY BENNET RAMEY,                  :
                                            :
                         Defendant          :
       ____________________________________:

                               DEFENDANT’S OBJECTIONS TO
                               GOVERNMENT’S EXHIBIT LIST

       COMES NOW the Defendant, Barry Ramey, by and through counsel, and respectfully

submits his objections to the Government’s exhibit list pursuant to Paragraph 7 of the Court’s

Pretrial Order dated January 30, 2023.

                                             EXHIBITS

       Defendant objects to Government’s proposed Exhibit 1 on the grounds that it is

irrelevant, speculative, and lacks foundation. Defendant objects to the Government’s proposed

Exhibit 300 due to the audio that can be heard throughout the video as well as the close caption

of that audio. Defendant objects to the audio and the close-caption on the basis that is irrelevant

to Defendant’s case and the Government will not be able to lay the foundation for the audio or

the close-caption. Lastly, Defendant objects to Government’s proposed Exhibits 405-407 as it

contains hearsay, it is prejudicial, and contains statement of facts that are not relevant to

Defendant’s case.

       Defendant reserves the right to object at trial to any proposed Government Exhibit should

they fail to lay a proper foundation, or use exhibits for hearsay or any other improper purpose.

                                               Respectfully submitted,



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                                            /s/ Farheena Siddiqui
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                                            Counsel for Defendant


                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of Defendant’s Objections to Government’s Exhibits was

served upon counsel of record through ECF on the date of filing.


                                                      s/ Farheena Siddiqui
                                                      Farheena Siddiqui




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